
(2008)
In re: BAYCOL PRODUCTS LIABILITY LITIGATION.
Mark Stodghill, etc.
v.
Bayer AG, et al., E.D. Pennsylvania, C.A. No. 2:07-5501.
MDL No. 1431.
United States Judicial Panel on Multidistrict Litigation.
April 7, 2008.

TRANSFER ORDER
JOHN G. HEYBURN II, Chairman.
Before the entire Panel:[*] Plaintiff moves, pursuant to Rule 7.4, R.P.J.P.M.L., 199 F.R.D. 425, 435-36 (2001), to vacate our order conditionally transferring the action to the District of Minnesota for inclusion in MDL No. 1431. Defendants Bayer Corp. and Bayer AG oppose the motion.
After reviewing the argument of counsel, we find that this action involves common questions of fact with the actions in this litigation previously transferred to the District of Minnesota, and that transfer of this action to the District of Minnesota for inclusion in MDL No. 1431 will serve the convenience of the parties and witnesses and promote the just and efficient conduct of the litigation. We further find that transfer of this action is appropriate for reasons that we set out in our original order, as amended, directing centralization in this docket. In that order, we held that the District of Minnesota was a proper Section 1407 forum for actions involving claims of liability related to the prescription drug Baycol. See In re Baycol Products Liability Litigation, 180 F.Supp.2d 1378 (J.P.M.L.2001).
Plaintiff can present his motion for remand to state court to the transferee court. See, e.g., In re Ivy, 901 F.2d 7 (2nd Cir.1990); In re Prudential Insurance Company of America Sales Practices Litigation, 170 F.Supp.2d 1346, 1347-48 (J.P.M.L.2001).
IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, this action is transferred to the District of Minnesota and, with the consent of that court, assigned to the Honorable Michael J. Davis for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this docket.
NOTES
[*]  Judge Scirica took no part in the decision of this matter.

